20-23070-rdd         Doc 58      Filed 03/28/22 Entered 03/28/22 10:19:45          Main Document
                                              Pg 1 of 14



DAVIDOFF HUTCHER & CITRON LLP                                Hearing Date: May 3, 2022
Attorneys for the Debtor                                     Hearing Time: 10:00 a.m.
120 Bloomingdale Road
White Plains, New York 10605
(914) 381-7400
Robert L. Rattet, Esq.
Jonathan S. Pasternak, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:                                                             Chapter 11

MARIANINA OIL CORP.,                                               Case No.: 20-23070 (RDD)

                                    Debtor.
---------------------------------------------------------X


APPLICATION FOR ORDER PURSUANT TO SECTIONS 363(b), (f) and (m) and 365(b)
    OF THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 6004
AUTHORIZING AND APPROVING (1) SALE OF THE DEBTOR’S REAL PROPERTY
   AND IMPROVEMENTS THEREON TO WHITE PLAINS HOSPITAL MEDICAL
  CENTER FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND
INTERESTAND GRANTING GOOD FAITH PURCHASER STATUS IN CONNECTION
  THEREWITH and (2) REJECTION OF UNEXPIRED NONRESIDENTIAL LEASE

TO THE HONORABLE ROBERT D. DRAIN,
UNITED STATES BANKRUPTCY JUDGE:


         Marianina Oil Corp., the above captioned debtor and debtor-in-possession (hereinafter

referred to as "Debtor"), by its proposed attorneys, Davidoff Hutcher & Citron LLP, as and for

its application for an order pursuant to Sections 363(b), (f), (m) and 365(b) of Title 11 of the

United States Code (the “Bankruptcy Code”) and Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rule(s)”) 2002 and 6004 authorizing and approving (1) the sale of the Debtor’s

real property located at 34 East Post Road, White Plains, New York 10601 (the “Property”) to

White Plains Hospital Medical Center (“Purchaser”) in accordance with the terms of the

Purchase And Sale Agreement (“PSA”) annexed hereto as Exhibit “A”, free and clear of all
20-23070-rdd      Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45            Main Document
                                          Pg 2 of 14



liens, claims, encumbrances and interests of any kind and granting good faith purchaser status to

Purchaser in connection therewith and (2) the rejection of the Debtor’s nonresidential

commercial lease with Gunks Holdings Corp., together with other related relief, respectfully

represents as follows:


                                           Jurisdiction


       1.          This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157

and 1334 and the “Standing Order of Referral of Cases to Bankruptcy Judges” for the Southern

District of New York, dated July 10, 1984 (Ward, C.J.). Venue of these proceedings and this

Application is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

proceeding under 28 U.S.C. § 157(b)(2)(A), (M), (N) and (O).

                                           Background

       2.          On September 23, 2020 (the “Filing Date”), the Debtor filed a voluntary

petition for reorganization pursuant to Chapter 11 of the Bankruptcy Code. The Debtor has

continued in possession of its property and the management of its business affairs as a debtor-in-

possession pursuant to §§1107 and 1108 of the Bankruptcy Code.

       3.          No Official Committee of Unsecured Creditors has been appointed. No

trustee or examiner has been appointed.

       4.          The Debtor in the business of owning commercially zoned real property

located at 34 East Post Road White Plains, New York 10601 (the “Property”).

       5.          The Property was historically operated by predecessor owners as well as

tenants of the Debtor as a gasoline and repair station but has been inactive and unused for the last

several years.
                                                 2
20-23070-rdd      Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45             Main Document
                                          Pg 3 of 14



       6.          The Debtor acquired the Property from Northville Industries, successor owner

to BP Products North America Inc. (“BP”), in approximately 1985. Unbeknownst to the Debtor

at the time, the Property was environmentally contaminated.

       7.          After discovering the contamination, the Debtor demanded remediation and/or

remuneration from BP, which resulted in a settlement between the parties wherein BP paid the

Debtor $50,000 and in consideration therefor the Debtor indemnified BP from future claims

related to the Property.

       8.          In or about 1994, the Debtor remediated the Property and the NYS

Department of Environmental Conservation (“DEC”) issued closure documentation. At that

point, the Debtor assumed the Property was now clean and fully remediated.

       9.          The Debtor thereafter leased out the gas station to third parties until 2018.

       10.         However, in 2016-2017 White Plains Housing Authority (“WPHA”), the

owner of adjacent property, claimed that its property had been contaminated by, inter alia, the

Debtor and in 2017 commenced an action in the Southern District of New York encaptioned

White Plains Housing Authority v. BP Products North America, Inc. Et Al., Index No. 17-cv-

6250-NSR-JCM (the “District Court Action”) initially against only BP but ultimately added the

Debtor to the action.

       11.         As a result of the District Court Action, BP has asserted an indemnification

claim against the Debtor.

       12.         In addition, in 2017 the DEC commenced a new administrative proceeding

against the Debtor, resulting initially in a consent order which DEC claimed the Debtor had not

fully complied with. However, the administrative proceeding has been recently settled, resulting

in the entry into an amended Consent Order governing, inter alia, the cleanup of the Property.
                                                 3
20-23070-rdd      Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45            Main Document
                                          Pg 4 of 14



See Exhibit “B” annexed hereto.

       13.         Attached to the Consent Order as Exhibit “C” hereto is a lengthy Remedial

Action Work Plan that details the parameters and actions for achieving remediation of the

affected areas.

       14.         Notwithstanding the amended Consent Order, WPHA is still pursuing the

Debtor in the District Court Action, seeking injunctive relief from the Debtor regarding the

Debtor’s alleged obligations to clean up the alleged spill onto WPHA’s property.

       15.         Prior to the Chapter 11 case, in response to (a) the DEC administrative

proceeding and (b) being impled into the District Court Action, the Debtor undertook to further

remediate the Property. Initially it contracted MRO Pump and Tank of Nyack, New York and

obtained work permits from the City of White Plains.

       16.         However, prior to commencing the additional remediation, DEC, for reasons

still unclear to the Debtor, caused the City of White Plains to issue a stop work order which

remains in place to date.

       17.         Accordingly, the Debtor, despite its intentions to remediate, was not

previously able (or permitted) to remediate the Property.

       18.         In 2019, the Debtor, anticipating being able to complete the required

additional remediation, entered into a lease (the “Lease”) with Gunks Holdings Corp. (“Gunks”),

pursuant to which Gunks agreed to effectuate the lease and use and occupy the Property subject

to and conditioned upon the completion of the environmental remediation. A copy of the Lease is

annexed hereto as Exhibit “D”.

       19.         Since the Debtor had been unable to complete the remediation, the Lease has

not yet been effectuated; notwithstanding, the Debtor believes the Lease constitutes an unexpired
                                                 4
20-23070-rdd      Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45             Main Document
                                          Pg 5 of 14



executory contract within the meaning of Section 365 of the Bankruptcy Code.

       20.         WPHA, in the District Court Action, seeks, inter alia, to compel the Debtor to

remediate WPHA’s property due to alleged contamination from the Debtor’s Property.

       21.          The Debtor has attempted to resolve with WPHA the injunctive litigation

before the District Court; however, the parties have been unable to completely “bridge the gap”.

       22.         The Debtor was hopeful that by entering into an amended Consent Order with

the DEC that the cleanup standards required by the DEC would be satisfactory to WPHA.

Unfortunately, the parties have yet to resolve their differences.

       23.         Notwithstanding, the Debtor believes that the best way to try and effectuate an

overall cleanup and resolve the District Court Action is by obtaining a purchaser who would be

willing to undertake the cleanup in a manner that would ultimately satisfy both the DEC

amended Consent Order and the WPHA. Indeed, the DEC itself recognized this, and stated in

both the Consent Order and Remedial Action Work Plan that it was contemplated that a buyer,

like White Plains Hospital or the City of White Plains Urban Renewal Agency, would purchase

the property, as those entities had expressed an interest in causing the construction of a parking

garage on the site. As such, the Remedial Action Work Plan contains, as an option for the

cleanup, parameters for remediation if that remediation were to be done in conjunction with

construction of a parking garage. The sale would also generate proceeds to be put towards the

remediation.

       24.         During 2020 and 2021, the Debtor was in negotiations to sell the Property to

White Plains Urban Renewal Agency in connection with the proposed expansion and

improvement of White Plains Hospital, close in proximity to the Property, made an initial offer

to purchase the Property in lieu of commencing of an eminent domain action against the Debtor.
                                                  5
20-23070-rdd      Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45               Main Document
                                          Pg 6 of 14



However, those negotiations did not ultimately result in a meeting of the minds.

       25.         In late 2021, the Debtor received interest directly from White Plains Hospital

Medical Center which has a strategic interest in the Property due to its proximity to the White

Plains Hospital and the Purchaser’s need for additional parking for the hospital.

       26.         These negotiations resulted in the parties entering into a Purchase And Sale

Agreement governing both the cleanup and sale of the Property.

                     Offer to Purchase from White Plains Hospital Medical Center

       27.         After arms’ length negotiation between respective parties, the Purchaser and

the Debtor entered into the PSA, a copy of which is annexed hereto as Exhibit “A”.

       28.         The material terms contained in the PSA are:

                   a. Purchase Price - $1,600,000, all cash;

                   b. Purchaser to assume environmental clean-up and remediation of Property;

                   c. $1,250,000 of the Purchase Price shall be escrowed at closing to be used

                      for such remediation and clean-up, with unused portion returned to

                      Seller’s estate;

                   d. Property to be delivered free and clear of all liens, claims, encumbrances

                      and interests of any kind, including the Lease;

                   e. Purchaser to indemnify the Debtor in connection with the Purchaser’s

                      undertaking of the cleanup; and

                   f. Purchaser shall close within no more than 30 days of Bankruptcy Court

                      approval.




                                                 6
20-23070-rdd          Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45             Main Document
                                              Pg 7 of 14



                            Relief Requested and the Legal Basis Therefore

          29.          Debtor submits this Application for authority to (a) sell the Property pursuant

to the terms and provisions of the PSA, free and clear of all liens, claims and encumbrances and

(b) reject the Lease in connection therewith, pursuant to Sections 363(b),(f) and (m) and 365(b)

of the Bankruptcy Code and Bankruptcy Rules 2002 and 6004.

          30.          Section 363(b)(1) of the Bankruptcy Code provides, in pertinent part, as

follows:

                  "The trustee, after notice and a hearing, may use, sell or lease, other than
          in the ordinary course of business, property of the estate…"

          31. The PSA contemplates the sale be a private sale, i.e., not subject to higher and better

offers.

          32. Under General Order M-383, the moving party must demonstrate extraordinary

circumstances justifying, inter alia, a private sale.

          33. In addition, Bankruptcy Rule 6004 specifically addresses the procedures required for

a private sale, as contemplated herein and provides as follows:

                (f) Conduct of sale not in the ordinary course of business
                    (1) Public or private sale
                           All sales not in the ordinary course of business
                           may be by private sale or by public auction.

          34.          “When a debtor desires to sell an asset, its main responsibility, and the

primary concern of the bankruptcy court, is the maximization of the value of the asset sold.” In

re Integrated Resources, Inc., 135 B.R. 746, 750 (Bankr. S.D.N.Y. 1992), aff’d. 147 B.R. 650

(S.D.N.Y. 1992).

          35.           The Debtor believes that the sale to Purchaser pursuant to a private sale is a

sound exercise of the Debtor’s business judgment and is clearly in the best interests, of the
                                                     7
20-23070-rdd      Doc 58      Filed 03/28/22 Entered 03/28/22 10:19:45              Main Document
                                           Pg 8 of 14



Debtor and its estate, as well as the environment. First and foremost, Purchaser is willing to

assume the Debtor’s responsibility for the cleanup and to indemnify the Debtor in connection

with same. Second, there is a public interest in seeing the Property sold to the Purchaser, which

Property will be improved, developed and used for the betterment of the White Plains

community in connection with having better access to and parking for White Plains Hospital.

The sale will ensure the DEC’s Consent Order and Remedial Action Work Plan is both funded

and carried out by a responsible party.

       36.         In addition, the Purchase Price likely exceeds the current fair market value of

the Property, especially given the environmental condition of the Property, and the Debtor

believes the Purchase price equals or exceeds what the Debtor would be awarded in an eminent

domain proceeding, especially after incurrence of costs and legal fees to be incurred in the

prosecution of such action.

       37.          Accordingly, it is in the best interests of the Debtor and its creditors shall be

well served with the proposed sale since it will result in a 100% distribution to all administrative,

secured and priority creditors as well as a significant distribution to the Debtor’s unsecured

creditors, with a possible return even to equity.

       38.         This Court has approved private sales where the debtor or trustee has

demonstrated the sale is within the reasonable judgment of such estate representative. See In re

Dewey & LeBeouf LLP, 2012 WL 5386276 at 4-5 (Bankr. S.D.N.Y. 2012); This Court has also

approved private sales where the purchaser is in a uniquely favorable position to acquire the

subject property or asset. See In re MF Global Inc., 535 B.R. 596, 606-07 (Bankr. S.D.N.Y.

2015). This Court has further ruled that sale need not be the result of “public” sale to be

approved. See In re Cooper, 592 B.R. 469, 480 (S.D.N.Y. 2018).
                                                    8
20-23070-rdd       Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45              Main Document
                                           Pg 9 of 14



       39.         Purchaser has been represented by separate outside counsel from the outset of

its negotiations with the Debtor and has no connection or relationship with the Debtor or any of

its officers, directors, shareholders or principals. The transaction proposed herein is therefore

completely “arms length” in nature.

       40.         In light of the foregoing, the Debtor submits that the private sale of the

Property is reasonable and in the best interests of the Debtor and the public at large.

                   REQUIREMENTS FOR PRE-CONFIRMATION SALE

       41.         The Debtor has not yet determined the best course of action with respect to

completing the chapter 11 process; to confirm a plan of reorganization or seek the approval of

the Court to dismiss the case. However, it is in the best interest of the estate to obtain immediate

approval of the PSA so as to comply with the closing deadline thereunder.

       42.         It is well settled that a sale of a debtor’s assets may take place prior to the

filing and confirmation of a plan of reorganization, if supported by the sound business judgment

of the debtor’s management. See, generally, In re Global Crossing Ltd., 295 B.R. 726, 743

(Bankr. S.D.N.Y. 2003); Official Comm. Of Unsecured Creditors of LTV Aerospace and Defense

Co. v. LTV Corporation (In re Chateaugay Corp.), 973 F.2d 141, 143-144 (2d Cir. 1992);

Committee of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d

Cir. 1983).

       43.         This Court has specifically approved sales outside of a plan of reorganization

if there is a good business reason for doing so and such sale is in the best interest of creditors.

See In re Saint Vincent’s Catholic Medical Centers of New York, 2010 Bankr. LEXIS 6196

(Bankr. S.D.N.Y. 2010); In re Cornell Indus., 2010 Bankr. LEXIS 3212 (Bankr. S.D.N.Y. 2010);

In re Boston Generating, LLC, 440 B.R. 302 (Bankr. S.D.N.Y. 2010). As set forth above, both
                                                   9
20-23070-rdd       Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45              Main Document
                                          Pg 10 of 14



good business reason (Purchaser’s eminent domain claim) and sound business judgment

(maximum value of the Property based on current condition) exists herein for the sale of the

Property to Purchaser. This proposed sale will yield sufficient funds to make distribution to all of

the Debtor’s creditors as well as yield a possible return to equity. The Debtor believes that the

proposed purchase price is the highest and best offer and that the estate cannot benefit by

conducting an auction, assuming it was legally permissible given the eminent domain posture of

the Purchaser. In addition, the Debtor and its estate will avoid the time delay, cost, expense and

risk of an eminent domain proceeding.

       44.         Based upon the foregoing, it is respectfully submitted that sound business

judgment exists for a pre-confirmation sale of the Property on the terms and conditions set forth

in the PSA.

                             SALE FREE AND CLEAR OF ALL
                          LIENS, CLAIMS AND ENCUMBRANCES

       45.         Section 363(f) of the Bankruptcy Code provides that a debtor in possession

may sell property free and clear of liens, claims and encumbrances with any such encumbrances

attaching to the net proceeds of the sale, if one of the following conditions is satisfied:

       (1)     applicable nonbankruptcy law permits the sale of such property free and
               clear of such interest;

       (2)     the lienholder or claimholder consents;

       (3)     such interest is a lien and the price at which such property is to be sold is greater
               than the aggregate value of all liens on such property;

       (4)     such interest is in bona fide dispute; or

       (5)     the lienholder or claimholder could be compelled, in a legal or equitable

               proceeding, to accept a money satisfaction of such interest.

                                                  10
20-23070-rdd       Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45              Main Document
                                          Pg 11 of 14



See 11 U.S.C. §363(f).

   46.             There are no known mortgage or judgment liens on the Property.

   47.             Accordingly, Section 363(f) is satisfied to the extent applicable.

The Property Must be Sold Free and
Clear of The Leasehold Interest and Claim

   48.             The Debtor seeks an Order of this Court rendering the sale of the Property free

and clear of the Lease, pursuant to Section 363(f)(4) of the Bankruptcy Code.

   49.             It is well settled that a property may be sold, pursuant to Section 363(f) of the

Bankruptcy Code, free and clear of “any interest,” which interest can include the possessory

interest of a lessee. Precision Industries, Inc. v. Qualitech Steel SBQ, LLC, 327 F.3d 537 (7th Cir.

2003); See also Cheslocl-Bakker & Assoc. v. Downtown Athletic Club of NYC, Inc. (In re

Downtown Athletic Club of NYC, Inc.), 2000 WL 744126 (Bankr. S.D.N.Y. 2000).

   50.             The Debtor submits it has satisfied the requirements for a sale “free and clear”

of the leasehold interest pursuant to Section 364(f)(5) of the Bankruptcy Code, in that the tenant

will be entitled to assert a rejection claim arising out of the termination of its interest under both

Section 363(f) and 365(b) as sought hereunder.

   51.             It is a condition to closing that the Property be delivered free and clear of,

inter alia, the Lease and all interests and rights thereunder.

   52.             Based upon the foregoing, the Debtor hereby seeks an Order approving the

sale of the Property free and clear of any and all such Lease related interests.

Request for Rejection of The Lease As Ancillary To Sale

   53.             As a condition of and ancillary to the sale requested herein, the Debtor

requests that the Court authorize the rejection of the Lease pursuant to Section 365(b) of the

                                                  11
20-23070-rdd      Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45               Main Document
                                         Pg 12 of 14



Bankruptcy Code.

    54.            The Debtor, as statutory trustee, has exercised its sound business judgment in

determining that the Lease has no or inconsequential value to the Debtor or its estate especially

in light of the inactive status of the Lease and the Debtor’s inability to perform under the Lease,

which requires that the Debtor first remediate the Property, for which the Debtor has no funds

absent the proposed sale to Purchaser herein.

    55.            As set forth above, the PSA is subject to termination, i.e., rejection, of the

Lease as a material and absolute condition to purchaser’s obligation to close on the proposed

sale.

    56.            It is therefore in the best interest of the Debtor and its estate that the Court

authorize the rejection of the Lease in connection with and ancillary to the sale proposed herein.

                                     NOTICE PROVISIONS

    57.            Bankruptcy Rule 6004 states, in part, as follows:

        (a) Notice of Proposed Use, Sale or Lease of Property. Notice of a proposed use,
sale or lease of property, other than in the ordinary course of business shall be given
pursuant to Rule 2002(a)(2), (c)(1), (i) and (k)...

    58.              This Application is being served in accordance with the applicable

provisions of Federal Rule of Bankruptcy Procedure 2002 on (a) all of the Debtor’s creditors; (b)

all parties filing Notices of Appearance in these proceedings, and (c) the Office of the United

States Trustee, so as to provide at least twenty (20) days’ notice of the relief requested, thereby

satisfying Federal Rule of Bankruptcy Procedure 2002(a)(2) and (k). Additionally, the Debtor

respectfully submits that the descriptions and notices provided by this Application and exhibits

hereto provide adequate notice of the terms and conditions of the proposed sale, thereby

satisfying Federal Rule of Bankruptcy Procedure 2002(c)(1). Finally, no committee has been
                                                  12
20-23070-rdd      Doc 58      Filed 03/28/22 Entered 03/28/22 10:19:45             Main Document
                                          Pg 13 of 14



appointed herein, and therefore Federal Rule of Bankruptcy Procedure 2002(i) is not applicable.

It is respectfully submitted that this notice constitutes good and sufficient service hereof.

                            GOOD FAITH PURCHASER STATUS

   59.             Section 363(m) of the Bankruptcy Code provides as follows:

(m) The reversal or modification on appeal of an authorization under subsection (b) or (c)
of this section of a sale or lease of property does not affect the validity of a sale or lease
under such authorization to an entity that purchased or leased such property in good faith,
whether or not such entity knew of the pendency of the appeal, unless such authorization
and such sale or lease were stayed pending appeal.

   60.             The Debtor respectfully requests that the Court enter an order granting

Purchaser “good faith purchaser” status pursuant to Section 363(m) of the Bankruptcy Code.

   61.             As set forth hereinabove, Purchaser has negotiated, by and through its

counsel, and entered into the PSA in good faith and at arms’ length with the Debtor. Purchaser is

a third party unrelated to the Debtor, is not an “insider” of the Debtor within the meaning of

Section 101(31) of the Bankruptcy Code, and is not controlled by, or acting on behalf of, and

insider of the Debtor or the Debtor itself.

   62.             The Debtor submits that Purchaser has taken part in the transaction

contemplated hereby in a manner consistent with granting it “good faith purchaser” status, and

the protections concomitant with such status.

   63.             A proposed Order granting the Application is annexed hereto as Exhibit “E”.




                                                  13
20-23070-rdd      Doc 58     Filed 03/28/22 Entered 03/28/22 10:19:45              Main Document
                                         Pg 14 of 14



       WHEREFORE, the Debtor respectfully requests that the Court enter an Order: (1)

authorizing and approving the sale of the Property to Purchaser, free and clear of all liens, claims

and encumbrances pursuant to 11 U.S.C. Sections 363(b) and (f) in accordance with the PSA; (2)

granting Purchaser good faith purchaser status pursuant to Section 363(m) of the Code and (3)

authorizing the rejection of the Lease, together with such other and further relief as is just under

the circumstances, for all of which no previous request has been made to this or any other Court.

Dated: White Plains, New York
       March 28, 2022

                                       DAVIDOFF HUTCHER & CITRON LLP
                                       Attorneys for the Debtor
                                       120 Bloomingdale Road
                                       White Plains, New York 10605
                                       (914) 381-7400


                                       By: /s/ Jonathan S. Pasternak
                                           Jonathan S. Pasternak




                                                 14
